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 Fill in this information to identify the case:

 Debtor name         Way To Grow, Inc., a Colorado corporation

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)         18-14330-MER
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $8,360,261.00
       From 1/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                            $27,963,916.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other


       For year before that:                                                                    Operating a business                            $38,718,802.00
       From 1/01/2016 to 12/31/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Blue Moose, LLC                                             Feb. through                    $118,400.00          Secured debt
               37088 Soaring Eagle Circle                                  May                                                  Unsecured loan repayments
               Fort Collins, CO 80550                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Lease Payments

       3.2.
               Susan Inniss                                                Feb. through                    $105,030.00          Secured debt
               507 Del Clair Street                                        May                                                  Unsecured loan repayments
               Fort Collins, CO 80525                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Lease Payments

       3.3.
               Sunlight                                                    Various                          $62,461.00          Secured debt
               Departrment 35088                                           Dates                                                Unsecured loan repayments
               P.O. Box 39000                                                                                                   Suppliers or vendors
               San Francisco, CA 94139                                                                                          Services
                                                                                                                                Other

       3.4.
               HAL Extraction                                              Various                          $61,030.00          Secured debt
               5902 McIntyre Street                                        Dates                                                Unsecured loan repayments
               Golden, CO 80403                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               Blue Nile                                                   Various                          $58,095.00          Secured debt
               6300 Wilshire Blvd.                                         Dates                                                Unsecured loan repayments
               Suite 1420                                                                                                       Suppliers or vendors
               Los Angeles, CA 90048                                                                                            Services
                                                                                                                                Other

       3.6.
               HyydroFarm                                                  Various                          $54,487.00          Secured debt
               400 Burbank Street                                          Dates                                                Unsecured loan repayments
               Broomfield, CO 80020                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.7.
               Advanced Nutrients                                          Various                          $43,815.00          Secured debt
               101-1625 Heritage Street                                    Dates                                                Unsecured loan repayments
               Woodland, WA 98674-9766                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               All Seasons Hydroponics                                     Various                          $22,540.00          Secured debt
               17614 Chatsworth Street                                     Dates                                                Unsecured loan repayments
               Granada Hills, CA 91344-5601                                                                                     Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               Botanicare                                                  Various                          $21,233.00          Secured debt
               6858 West Chicago Street                                    Dates                                                Unsecured loan repayments
               Suite 3                                                                                                          Suppliers or vendors
               Chandler, AZ 85226                                                                                               Services
                                                                                                                                Other

       3.10
       .    Netafirm                                                       Various                          $16,134.00          Secured debt
               5470 East Home Avenue                                       Dates                                                Unsecured loan repayments
               Fresno, CA 93727                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.11
       .    Solstice Garden Supply                                         Various                          $16,008.00          Secured debt
               760 Mission George Place                                    Dates                                                Unsecured loan repayments
               Suite B                                                                                                          Suppliers or vendors
               San Diego, CA 92120                                                                                              Services
                                                                                                                                Other

       3.12
       .    Chase                                                          Various                          $15,279.00          Secured debt
               270 Park Avenue                                             Dates                                                Unsecured loan repayments
               New York, NY 10017                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.13
       .    Brian Lester                                                   Various                          $15,000.00          Secured debt
               2046 Hillhurst                                              Dates                                                Unsecured loan repayments
               #49                                                                                                              Suppliers or vendors
               Los Angeles, CA 90027                                                                                            Services
                                                                                                                                Other

       3.14
       .    BOE                                                            Various                          $13,766.00          Secured debt
               P.O. Box 942879                                             Dates                                                Unsecured loan repayments
               Sacramento, CA 94279-0001                                                                                        Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.15
       .    Bio Floral, LLC                                                Various                          $12,668.00          Secured debt
               2711 East Craig Road                                        Dates                                                Unsecured loan repayments
               Suite B                                                                                                          Suppliers or vendors
               North Las Vegas, NV 89030                                                                                        Services
                                                                                                                                Other

       3.16
       .    City of LA                                                     Various                          $12,256.00          Secured debt
               200 North Spring Street                                     Dates                                                Unsecured loan repayments
               Room 101                                                                                                         Suppliers or vendors
               Los Angeles, CA 90016                                                                                            Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.17
       .    Green Diamond                                                  Various                          $11,079.00          Secured debt
               850 42nd Street                                             Dates                                                Unsecured loan repayments
               Unit G                                                                                                           Suppliers or vendors
               Oakland, CA 94601                                                                                                Services
                                                                                                                                Other

       3.18
       .    Global Garden, LLC                                             Various                            $7,406.00         Secured debt
               19819 Hamilton Avenue                                       Dates                                                Unsecured loan repayments
               Torrance, CA 90502                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.19
       .    Crop Production Services                                       Various                            $7,076.00         Secured debt
               1290 North Knollwood Circle                                 Dates                                                Unsecured loan repayments
               Anaheim, CA 92801                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.20
       .    Hawthorne Gardening                                            Various                            $7,030.00         Secured debt
               800 Port Washington                                         Dates                                                Unsecured loan repayments
               Port Washington, NY 11050                                                                                        Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.21
       .    All Seasons                                                    Various                            $6,608.00         Secured debt
               17614 Chatsworth Street                                     Dates                                                Unsecured loan repayments
               Granada Hills, CA 91344                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    James Blaha                                                 Various                          $86,667.00         Employee Compensation
               37088 Soaring Eagle Circle                                  Dates
               Fort Collins, CO 80550
               Former COO of Way to Grow, Pure and
               Green Door

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address
       7.1.    Corey Inniss v. Pure                             Breach of                    District Court for Larimer                  Pending
               Agrobusiness, Inc., et al.                       Contract;                    County                                    On appeal
               2018CV030331                                     Collection
                                                                                                                                       Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss              Value of property
       how the loss occurred                                                                                                                                     lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.
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       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Kutner Brinen, P.C.
                 1660 Lincoln Street, Suite
                 1850
                 Denver, CO 80264                                    Attorney Fees                                             5/17/18                $50,000.00

                 Email or website address
                 lmk@kutnerlaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information


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16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Way to Grow, Inc. Pension Plan                                                             EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes
                     No Go to Part 10.
                     Yes. Fill in below:
 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was            Last balance
                Address                                         account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
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       Owner's name and address                                      Location of the property             Describe the property                                      Value
       GPL Technologies                                              Fort Collins, Colorado               AeroHive 230 AO Wireless                               $700.00
       2316 West Victory Blvd.                                       Store                                Router
       Burbank, CA 91506

       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Artwork from various local artists                            Colorado Retail Stores               Artwork/Paintings                                     $3,000.00
                                                                     excluding
                                                                     Silverthorne and
                                                                     Colorado Springs


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
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           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       Diana Kelly                                                                                                         January 1, 2011 -
                    3201 East Mulberry Street                                                                                           January 31, 2016
                    Suite K
                    CO 80054
       26a.2.       Vickie Miller                                                                                                       February 2016 - May
                    3201 East Mulberry Street                                                                                           2018
                    Suite K
                    Fort Collins, CO 80054
       26a.3.       Richard Leeser                                                                                                      September 2017 -
                    23461 East Otero Drive                                                                                              May 2018
                    Aurora, CO 80016

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Dbb McKennon                                                                                                        Through 2017
                    12790 El Camino Real
                    #130
                    San Diego, CA 92130
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Diana Kelly                                                                                                         January 1, 2016 -
                    3201 East Mulberry Street                                                                                           June 2016
                    Suite K
                    Fort Collins, CO 80054
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.3.       Vickie Miller                                                                                                       May 2017 - May 2018
                    3201 East Mulberry Street
                    Suite K
                    Fort Collins, CO 80054
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.4.       Richard Leeser                                                                                                      September 2017 -
                    23461 East Otero Drive                                                                                              May 2018
                    Aurora, CO 80016

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Vickie Miller
                    3201 East Mulberry Street
                    Suite K
                    Fort Collins, CO 80054

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.


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           None
       Name and address
       26d.1.  Hydrofarm
                    400 Burbank Street
                    Broomfield, CO 80020
       26d.2.       Chase Bank
                    300 South Grand Avenue
                    Los Angeles, CA 90071
       26d.3.       Victory Park Capital
                    150 North Riverside Plaza
                    Chicago, IL 60606
       26d.4.       Piper Jaffray & Co.
                    800 Nicollet Mall
                    Minneapolis, MN 55402
       26d.5.       Cananacord Genuity
                    161 Bay Street
                    Toronto, ON Canada
       26d.6.       Enterpreneur Growth Capital
                    505 Park Avenue
                    New York, NY 10022

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Vickie Miller                                                                   Cycle counts
       .                                                                                    conducted
                                                                                            weekly

                Name and address of the person who has possession of
                inventory records
                Vickie Miller
                3201 East Mulberry Street
                Suite K
                Fort Collins, CO 80054


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Rick Byrd                                      2317 South Santa Fe                                 President/Secretary/Treasurer         0%
                                                      Los Angeles, CA 90058

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Pure Agrobusiness                              3201 East Mulberry Street                                                                 100%
                                                      Suite K
                                                      CO 80054


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
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        Case:18-14330-MER Doc#:60 Filed:06/08/18                                              Entered:06/08/18 17:03:08 Page11 of 11
 Debtor      Way To Grow, Inc., a Colorado corporation                                                  Case number (if known) 18-14330-MER




       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       James Blaha                                    37088 Soaring Eagle Circle                          COO                              January 1, 2016 -
                                                      Fort Collins, CO 80550                              0% Interest                      September 2017


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Way to Grow, Inc. Pension Plan                                                                             EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 8, 2018

 /s/ Richard Byrd                                                       Richard Byrd
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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